 Case: 1:12-cv-06377 Document #: 281 Filed: 06/29/16 Page 1 of 12 PageID #:6641



                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION



MICHAEL PADALINO, JOHN
PIGOTT, VERONICA RODRIGUEZ,
and RICHARD SOTO,                                  Case No. 12 C 6377

                        Plaintiffs,         Judge Harry D. Leinenweber

            v.

THE CITY OF CHICAGO,

                         Defendant.



                 FINDINGS OF FACT AND CONCLUSIONS OF LAW

     This case started out with eleven disgruntled current or

former Chicago police officers who at one time had been assigned

to the Security Specialist Position to provide protection to

Former Mayor Richard M. Daley.              As Security Specialists, the

eleven,   who    held    the   rank   of   patrol     officer,   received    pay

equivalent to that of a sergeant.                After the election of Mayor

Rahm Emanuel, they were reassigned to their previous position of

patrol officer with corresponding reduced pay.               By the time the

case was before the Court on its fifth amendment, the Plaintiffs

were pleading      five separate counts:           Count I against the City

of Chicago alleging violation of the Shakman Decree; Count II

against the Individual Defendants alleging Section 1983 First

Amendment    violations;        Count      III     against   the    Individual
 Case: 1:12-cv-06377 Document #: 281 Filed: 06/29/16 Page 2 of 12 PageID #:6642



Defendants          alleging      Section    1983    Equal       Protection         violations;

Count IV against the Individual Defendants alleging Section 1981

race discrimination; and Count V against the City of Chicago

alleging Title VII violations.                       The Defendants, who included

Interim        Superintendent            Terry     Hillard        and       Commander          Brian

Thompson (who was appointed by Hillard to be Commander of Mayor

Emanuel’s           future     security         detail)     all       moved        for     summary

judgment.           The Court granted the Motions with the exception of

Count I, the Shakman violations against the City of Chicago, and

Counts       III    and    IV,    the     Section    1983      and    Section       1981       Equal

Protection          violations,         against     Hillard       and       Thompson.           With

respect to Count I, the Court dismissed all Plaintiffs other

than     Padalino,         Pigott,        Rodriguez,      and     Soto       on     statute      of

limitations grounds.                The Court also dismissed all Defendants

other        than     Hillard       and     Thompson      on      Counts          III    and     IV.

Counts III and IV proceeded to trial on June 13th before a jury

which found in favor of Hillard and Thompson and against all

Plaintiffs.          Count I – the Shakman claim - proceeded to a bench

trial after the jury portion concluded.                           The Court now renders

its decision on Count I, finding in favor of the City of Chicago

and against the Plaintiffs.

        In    1972,        Cook     County      entered        into     a    consent       decree

prohibiting           it     from       “conditioning,           basing        or        knowingly

prejudicing          or    affecting      any     term    or    aspect       of    governmental

                                             - 2 -
    Case: 1:12-cv-06377 Document #: 281 Filed: 06/29/16 Page 3 of 12 PageID #:6643



employment, with respect to one who is at the time already a

governmental employee, upon or because of any political reason

or factor.”          See, O’Sullivan v. City of Chicago, 396 F.3d 843,

848 (7th Cir. 2005) (providing history of Shakman litigation).

A    plaintiff       alleging    a     violation      of     the    Shakman     Decree      (the

“Shakman       Decree”)       “has     the     burden       of     proof   by      clear     and

convincing          evidence.”         Shakman       v.    Democratic       Org.     of     Cook

County, No. 69-2145, 2009 WL 855633, at *2 (N.D. Ill March 30,

2009).      Similar to a Section 1983 First Amendment case, once a

plaintiff       demonstrates         that      a    term     of     his    employment        was

prejudiced by a political reason or factor, the burden shifts to

the     City    to     show     it     would       have     made     the   same      decision

notwithstanding         the     political          reason.         Shanahan     v.    City   of

Chicago,       82    F.3d   776,     780     (7th    Cir.     1996).       Of      course    the

Shakman      Decree     does     not    prohibit          consideration       of     political

affiliation for certain positions deemed to be policy making or

in which political affiliation is a justifiable consideration

for the effective performance of the public office involved.

Soderbeck v. Burnett County, 752 F.2d 285 (7th Cir. 1985).                                   The

Shakman Decree further makes clear that “[t]he mere fact that a

person worked for a political campaign for elective office does

not prohibit consideration of a recommendation related to that

person insofar as the basis for that recommendation relates to

the person’s relevant work experience.”                      (Def. Ex. 74, p. 6-7.)

                                             - 3 -
 Case: 1:12-cv-06377 Document #: 281 Filed: 06/29/16 Page 4 of 12 PageID #:6644



      Here Plaintiffs contend that they were removed from the

position of Security Specialist because the City favored fellow

police      officers,       Gonzalez,        Cirrincione,           Gurkan,       Mejia,       and

Rebecchi,     all    of    whom     had   volunteered          to    drive      during     Mayor

Emanuel’s campaign for mayor.                    Thus, they contend the Shakman

Decree      was    violated       because       the    City       favored       the    campaign

volunteers        over     the     Plaintiffs         who     did       not    volunteer        in

Emanuel’s campaign.               The City denies any political favoritism

and contends that the appointing officers (Hillard and Thompson)

did   not    know    the    political          affiliation         of    either       group    and

further that the officers were ultimately appointed because they

had   excellent      work       credentials,        and     had     experience        providing

Mayor    Emanuel         with     security      services          which       were    extremely

difficult and sensitive.

                                    FINDINGS OF FACT

      The    Court       starts    with    a    little      background         history.        In

September 2010, Mayor Daley announced that he did not intend to

seek re-election at the 2011 primary and general election.                                    Rahm

Emanuel,     who    had    recently       been    Chief       of    Staff      for    President

Obama,      announced       his     intention         to    seek        the    office.         On

February 22, 2011, Mayor Emanuel was elected.                                  Mayor Daley’s

term ended on May 16, 2011, on which date Mayor Emanuel was

sworn in.         On the date of the election, the Superintendent of

Police was Jody Weis (“Weis”).                    Weis decided to retire as of

                                            - 4 -
    Case: 1:12-cv-06377 Document #: 281 Filed: 06/29/16 Page 5 of 12 PageID #:6645



March 1, 2011.            Mayor Daley appointed Terry Hillard (“Hillard”),

a    former    Superintendent       and    a   35-year     veteran     of   the    police

department,          as   Interim   Superintendent         who   was   to    hold   that

office until Mayor Emanuel was sworn in.

        Prior to leaving office Mayor Daley had a security detail

consisting          of    21   security    specialists       and   two      commanders.

Hillard was given the duty to create a security detail for Mayor

Emanuel.        He met three times with Mayor Emanuel and was told

that Emanuel wanted “a bare bones” detail that was as diverse as

the City.       Hillard found that what the Mayor wanted was not in

the cards, because in his view, the job of security detail for

Emanuel was much more difficult than it was for Mayor Daley.

Emanuel       was    a    “breaker,”   meaning      that    he   had   a    history   of

eluding       his    security     detail    while    in    Washington,       DC.      His

immediate family was younger and more numerous than Daley’s, and

Emanuel was younger and physically more active than Daley.                             In

any event, Hillard, after consulting with a member of the Secret

Service who was familiar with Emanuel, settled on creating a

detail consisting of sixteen officers and one Commander, Brian

Thompson.           Thompson had been one of the commanders of Daley’s

detail, was well known to Hillard, and was highly respected by

him.

        During Mayor Emanuel’s campaign, a number of Chicago police

officers volunteered to assist him in performing driving duties.

                                           - 5 -
    Case: 1:12-cv-06377 Document #: 281 Filed: 06/29/16 Page 6 of 12 PageID #:6646



In addition, a large number of non-police officers volunteered,

a total of between 15 and 20.                       Most of the work done by the

volunteers was driving Emanuel and his campaign aides to and

from     campaign       events.         The    days    were    long      and    consisted      of

attending many campaign events throughout the City, and it was

important to know the best way to get there and, most important,

not    get     lost.      One     of    the    volunteers          was   a   Chicago        police

officer by the name of Hakki Gurkan (“Gurkan”), who was well

known to Emanuel because he had worked for Emanuel while he was

a     Congressman        and    had      been      a    constituent.             Gurkan        was

instrumental in obtaining several volunteers from the Chicago

Police Department, including Rebecchi, Cirrincione, and Mejia.

        On the day of the election, Mayor Daley’s staff, including

Chief     of    Staff     Orozco       and    an   aide,   Daniel        Gibbons,      met     and

discussed the need to supply Emanuel with a security detail once

he     became,      as     expected,          Mayor     Elect.           There        was    some

disagreement and confusion about who was asked to supply names

as to who should be appointed for security purposes during the

period between the election and the date the Mayor was to take

office.        There appeared to be no suggestion that any of Mayor

Daley’s        security    team    be        reassigned       to    Emanuel’s     presumably

because they were still protecting Mayor Daley and would do so

until the end of his term in May.                      In any event, Michael Faulman

(“Faulman”),        Emanuel’s          aide,       acknowledged          that    he     sent    a

                                              - 6 -
 Case: 1:12-cv-06377 Document #: 281 Filed: 06/29/16 Page 7 of 12 PageID #:6647



proposed list of volunteers to Gibbons.                    Faulman stated that the

names he forwarded were the best of the volunteers, i.e., ones

that had a history of not getting lost.                        Gibbons in turn sent

the    list    to   Orozco,     who   in    turn    sent     it   to    Weis,   who   then

instructed       his    Chief   of    Staff,       Michael     Master,    “to   make    it

happen.”            Accordingly,      Weis      officially         detailed      Gurkan,

Rebecchi, Cirrincione, Hamilton, Smith and Mejia to Unit 543 to

provide security to Emanuel during the interim period.                          Unit 543

was a position that provided security on an ad hoc basis to

protect, for example, visiting dignitaries.                        Unlike members of

Unit    542,     which    consisted        of   Security       Specialists      for    the

protection of the Mayor, the members of Unit 543 received no

increase in pay.

       As the inauguration date approached, Superintendent Hillard

appointed Thompson to be Commander of Emanuel’s mayoral security

detail and asked him to recommend the members of Mayor Daley’s

security staff who he felt should be transferred to Emanuel’s

mayoral       detail.     Thompson     recommended         8   security     specialists

from Daley’s security staff for transfer (none of which were the

Plaintiffs), and several more were recommended to Hillard by

Assistant Superintendents Cuello, Jackson, and Williams.                          All of

those recommended were appointed by Hillard.                           In addition, the

five members of Emanuel’s interim security staff were appointed

by Hillard.         Hillard’s reasoning was that it was the right thing

                                           - 7 -
 Case: 1:12-cv-06377 Document #: 281 Filed: 06/29/16 Page 8 of 12 PageID #:6648



to do to bring over people who had worked with Emanuel, knew his

family’s characteristics and thus could “intermingle” with the

transfers from Daley’s staff and provide needed information to

them.      Hillard’s     reasoning         was    supported    at     trial     by   the

testimony    of   Donald       O’Neill      (“O’Neill”),      Director     of    Human

Resources    of   the    Police      Department,       who    testified       that   the

experience    gained     by    the    volunteers       in    serving    Emanuel      was

relevant work experience that could properly be considered by

the appointing official.             Hillard further reasoned that if any

of the appointees “didn’t work out” they could be transferred

back to patrolman status.              There is no actual evidence that

Hillard made any of the appointments for political reasons.                           He

testified    that   he        made   the     appointments       based     solely      on

Thompson’s    recommendations          and       on   his    belief     that,    since

Thompson would be working with them as their new Commander, it

made sense to accept his recommendations.                     Moreover the Court

can think of no overarching reason for Hillard to play political

gamesmanship at this state of his career.                       He did not know

Emanuel.     He did not know any of the volunteers.                    He was to be

the Interim Superintendent only for the transition period.                            It

is also evident that the transition period was undoubtedly a

hectic one with a lot going on.                   Certainly the makeup of the

future mayor’s security team would not be the most important

item on anyone’s plate.

                                         - 8 -
 Case: 1:12-cv-06377 Document #: 281 Filed: 06/29/16 Page 9 of 12 PageID #:6649



        Plaintiffs argue that when Hillard selected the officers of

the mayoral security detail and detailed them to Unit 542 on May

16, 2011, they were then performing substantially all of the

duties     of   the     Security   Specialist      and    were     receiving     D3

(sergeant’s) pay.         Thus, they were “acting up” under the terms

of the City’s hiring plan.            However, they were not officially

assigned to the position of security specialist until December

2011, which was well over the limit of 90 days allowed by the

Shakman Decree.         The evidence was that Thompson, on August 9,

2011,    officially     assigned     them   to    the   position    of   Security

Specialist.        However,    one    of    the    officers      assigned,     Paul

Cirrincione,      was    removed   from     the    detail   for     cause,     thus

derailing the paperwork process.              The officers were ultimately

not assigned until December 2011, which was clearly in excess of

90 days.        Plaintiffs do not contend that the resultant delay

from August to December occurred for a political reason.                         It

would be hard to argue that it was.                 Either the appointments

were legal or they were not as of August 9, 2011. No political

benefit could be gained by causing a delay.                   As of August 9,

2011, the officers had been acting as Security Specialists for

85 days, which was within the permitted 90 days under the hiring

plan.

     Plaintiffs further argue that the City violated the Shakman

Decree because Hillard did not execute Hire Certificates when he

                                      - 9 -
 Case: 1:12-cv-06377 Document #: 281 Filed: 06/29/16 Page 10 of 12 PageID #:6650



detailed     the        volunteers          to    Unit    542    in        February,        2011.

According     to      O’Neill,        such       certificates,        at    least    for      the

Security Specialist position, were not required to be executed

until there were actual appointments, which did not occur until

August 2011.            Plaintiffs also argue that neither Hillard nor

Thompson made the required investigation into whether politics

was   involved      in    the       appointments,        although      by    executing        the

certificates they attested that they had done so.                                    The City

takes the position that since Thompson was the sole decision

maker in the appointments and since he professed that he did not

take politics into consideration, he did not need to conduct any

further inquiry.          Although it reasonably can be argued that the

Decree     was     violated          by     failing      to     conduct       an     inquiry,

nevertheless the issue in federal court is whether the First

Amendment     rights          of     the    Plaintiffs         were    violated        by     the

appointment      of     the    volunteers         and    the    plaintiffs’         subsequent

demotions.       See, Shanahan v. City of Chicago, 82 F.3d 776, 780

(7th Cir. 1996).                   Failure to conduct an investigation into

political influences does not equate to a finding that political

influences occurred.                It is still incumbent upon Plaintiffs to

prove their case.             Further, Section 1983 and the Shakman Decree

protect plaintiffs from constitutional violations and not from

violations       of      state        laws,       departmental         regulations,           and

practices.         To    the       extent    that   Plaintiffs        have    proved        minor

                                             - 10 -
 Case: 1:12-cv-06377 Document #: 281 Filed: 06/29/16 Page 11 of 12 PageID #:6651



violations of some of the Decree’s minutia does not prove that

political      considerations         prevailed.               Thompson        v.      City    of

Chicago, 472         F.3d   444,    454-5       (7th    Cir.      2006)    (“Section          1983

protects       plaintiffs          from        constitutional            violations,           not

violations of state laws or . . . departmental regulations and

. . . practices.”)

      One    final      point:            it    was     the       police       officers        who

volunteered to drive for the campaign.                         There was no evidence

submitted    that     either     Emanuel        or     any   of    his    political         aides

actively solicited the volunteers or promised them any special

consideration or favors based on their volunteerism.                                   Certainly

the motives of the volunteers must have included the hope that

the experience gained and the contacts made would be helpful in

the   future    and    might     lead      to    the    appointment           as   a    Security

Specialist      or     some    other       benefit.            Volunteering            to     gain

experience     is     not   materially          different      from      an    employee        who

attains specialized education with the hope that such knowledge

gained would stand him in good stead in later seeking a better

employment position.           Working on a political campaign does not

render a person unfit for promotion by that fact alone.                                       That

such experience may have helped the five volunteers does not

discredit the City of Chicago’s hiring practices nor does it

prove that politics was the motivating factor in the employment

decision at issue in this case.                   Further, there was no evidence

                                           - 11 -
 Case: 1:12-cv-06377 Document #: 281 Filed: 06/29/16 Page 12 of 12 PageID #:6652



introduced that tended to show that any of the volunteers were

not competent Security Specialists.

                               CONCLUSIONS OF LAW

     In conclusion, the Court finds as follows:

     1.       The Plaintiffs failed to prove by clear and convincing

evidence that their political neutrality during the campaign for

mayor   was    a     motivating   factor       in   their    removal         from   their

positions as Security Specialists.

     2.       That Hillard was not motivated by any political factor

when he detailed the Emanuel volunteers to Unit 542.

     3.       That    Thompson    was    not     motivated       by    any    political

factor when he appointed the Emanuel volunteers to Unit 542.

     Accordingly,        the   Court    finds       in   favor    of    the     City   of

Chicago and against the Plaintiffs.



IT IS SO ORDERED.




                                               Harry D. Leinenweber, Judge
                                               United States District Court

Dated: June 29, 2016




                                        - 12 -
